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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA

    UNITED STATES OF AMERICA,

          Plaintiff,

          And

    OSAGE MINERALS COUNCIL,

          Intervenor-Plaintiff,

    v.                                          Case No. 14-CV-704-GKF-JFJ

    OSAGE WIND, LLC;
    ENEL KANSAS, LLC; and
    ENEL GREEN POWER NORTH
    AMERICA, INC.,

          Defendants.

       The United States’ Response Opposing Defendants’ Motion to Exclude the
      Testimony of Plaintiff the United States’ Expert Witness Steven J. Hazel and
                          Opening Brief in Support (Dkt. 337)
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       The United States objects to Defendants’ Motion to Exclude the Testimony of

   Plaintiff the United States’ Expert Witness Steven J. Hazel and Opening Brief in

   Support (Dkt. 337) and requests that the Court deny it.

                                           Introduction

       Defendants characterize the sovereign right of the Osage Minerals Council

   (OMC) to negotiate, as established in federal regulations, as its “hold up” 1 value. See

   Dkt. 337 at 4, 10, 12, 15, 17. However, here, Defendants were the bad actors, robbing

   the OMC of their sovereign, Congressionally-authorized right to negotiate a mining

   lease. A mining lease, in fact, that the Tenth Circuit found was required for the acts

   Defendants admit liability for: trespass and conversion. See United States v. Osage

   Wind, LLC, 871 F.3d 1078, 1081-82, 1093 (10th Cir. 2017); Dkt. 321 at 6 (“Insofar as

   the Tenth Circuit held crushing rock for backfill required a mining lease, Osage

   Wind and EGPNA do not oppose summary judgment as to liability (only) on

   Plaintiff’s trespass and conversion claims.”).

       The most apt explanation of a “hold-up problem” is found in economics:

          The hold-up problem is a situation where two parties may be able to work
          most efficiently by cooperating but refrain from doing so because of
          concerns that they may give the other party increased bargaining power
          and thus reduce their own profits. When party A has made a prior
          commitment to a relationship with party B, the latter can 'hold up' the
          former for the value of that commitment. The hold-up problem leads to
          severe economic cost and might also lead to underinvestment.



   1
    “Hold up” (including its variations) could have various meanings - including stickup,
   robbery, or roadblock – all carrying the connotation of illegally taking another’s property.
   Black’s Law Dictionary (11th ed. 2019) (emphases added).


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   Hold-up problem, Wikipedia <https://en.wikipedia.org/wiki/Hold-up_problem>

   (Nov. 24, 2021) (citing Rogerson, W.P. (1992). Contractual Solutions to the Hold-

   Up Problem. The Review of Economic Studies, 4(59), 777-793. JSTOR 2297997). In the

   instant case, Defendants, having initially invested in the Project, avoided

   cooperating, acknowledging the mining lease requirement or entering into lease

   negotiations with the OMC for fear of engaging the superior bargaining power the

   OMC held. Defendants repeated use of “hold up value” in their motion attempts to

   revise the facts of the case, flip the parties’ roles, and slander the OMC by implying it

   was the aggressor, holding the helpless Defendants hostage.

      Throughout the post-remand pleadings and in the instant Motion, Defendants

   repeatedly note they had alternatives in lieu of excavating and mining the Osage

   Mineral Estate (OME), which was vital to the development and ongoing operation

   of the Osage Wind farm (Project). In this second phase of the litigation, where the

   parties are seeking to establish damages and remedies for Defendants’ actions, the

   focus remains on what Defendants actually did, not on what they could have done.

   Defendants chose expediency over negotiation, opting to illicitly excavate and mine

   the OME rather than to import offsite minerals for backfill, insulation and erosion

   control. Defendants were motivated by the prospect of saving money and preventing

   further construction delays, under fig leaf cover of an ‘advice of counsel’ defense (as

   evidenced by the ever-evolving Modrall memos).

      First, Mr. Hazel’s opinions and testimony are relevant. Defendants attempt to

   discredit Mr. Hazel for not indulging in hypothetical scenarios in which they could

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   have substituted minerals purchased offsite.2 However, Mr. Hazel was not asked to

   value actions Defendants did not take – his job as Plaintiff’s expert witness was to

   create a damages valuation based on the facts of the case and the law of the case as

   defined by the Tenth Circuit. See United States v. Osage Wind, LLC, 871 F.3d 1078

   (10th Cir. 2017). Defendants may lament their business decision to illegally mine the

   OME and avoid negotiating with the OMC, but these decisions are what inform Mr.

   Hazel’s opinions on the appropriate damages valuation for Defendants’ actions.

   Accordingly, Mr. Hazel’s opinions cannot be rendered inadmissible because

   Defendants believe he did not sufficiently speculate as to alternatives they failed to

   pursue compared with their chosen course of regulatory violations.

       Despite Defendants’ incessant focus on “crushing,” it does not remake the Tenth

   Circuit’s Opinion, and Mr. Hazel’s damages valuation is not required to be cabined

   to it. See Dkt. 345 at 2 (n.1), 7 (subsections III (A-B)). Defendants ineffectively argue

   Mr. Hazel’s opinions should be excluded as a mere thought exercise. However, this

   characterization in no way makes Mr. Hazel’s opinions less likely to assist the trier of

   fact. Mr. Hazel’s opinions are the only expert analysis here designed to assist the


   2
    This is a red herring. See Dkt. 337 at 4 (citing Dkt. 300 at Undisputed Fact no. 7).
   Notably, Defendants leave out how, in support of Undisputed Fact no. 7, the United States
   provided important context to this road not taken: “Defendants made the conscious
   decision to use the excavated minerals in order to save money.” Id. citing Dkt. 300-2 at
   105:9-15 (Moskaluk confirms Defendants decided it was cheaper to use excavated material
   versus using material from offsite); Dkt. 300-4 at 4 (“[T]he disposal of excavated rocks and
   import of back filling material from outside the County was a more expensive solution.
   Importing material was also not advised by EGP NA Legal Dep. because it would have
   given credit to Osage Nation's theory on the commercial use of soil and therefore
   abandoned.” (emphases added)).

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   Court in valuing damages owed to the OMC for Defendants’ illegal mining.

       Second, Mr. Hazel’s opinions are reliable. Because the facts of this case are

   unusual or only capable of occurring in only one particular Native American

   reservation does not render Mr. Hazel’s opinions unreliable. Presented with various

   methodologies on how to value the damages owed the OMC, Mr. Hazel chose a

   comparable proxy that Defendants find unacceptable. 3 It may be ironic that

   Defendants’ own negotiated terms with the surface owners of the land in question

   are now being used to determine the damages they may be ordered to remit to the

   OMC, but Defendants’ disagreement with Mr. Hazel’s chosen methodology is not

   sufficient grounds to have his testimony stricken. Bitler v. A.O. Smith Corp., 400 F.3d

   1227, 1233 (10th Cir. 2004) (requirement that testimony must be reliable does not

   mean that the party offering such testimony must prove “that the expert is

   indisputably correct”) (quoting Mitchell v. Gencorp Inc., 165 F.3d 778, 781 (10th Cir.

   1999)).

       Third, Mr. Hazel is qualified. Mr. Hazel’s expert opinions and testimony are

   directed at providing a damages valuation for Defendants’ failure to secure a mining

   lease with the OMC. Mr. Hazel is not only a forensic accountant; he has provided

   testimony regarding damage valuation nearly 50 times in the last four years. See

   Exhibit 1 to Dkt. 337, filed under seal at Dkt. 338, at 63-71 (Hazel Report).



   3
     Defendants label Mr. Hazel’s opinions as arbitrary, but it is inherently reasonable the OMC
   would have looked to the very terms Defendants negotiated with the surface owners of the
   land in question had Defendants abided by the federal mining regulations requiring a lease.

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       Clearly, Defendants would prefer to pen in Mr. Hazel’s opinions around the issue

   of wind energy development. However, interestingly, Defendants conspicuously fail

   to mention their own purported expert in this area, Ms. Centera. This omission is

   likely due to Ms. Centera’s endorsement of Mr. Hazel’s damages or lease

   compensation methodology and Defendants rendering her willfully blind to their

   awareness of the need for the mining lease a year in advance of excavation. See Dkt.

   336 at 3-5, 9. Despite Defendants’ claims, Mr. Hazel did cite experience with

   projects involving the wind energy industry, including a project that included

   construction cost overruns.4 Dkt. 337-1, Hazel Depo. Tr. Excerpts at 19:25-22:4,

   24:9-18. Even as a referendum on Mr. Hazel’s wind energy industry experience,

   Defendants’ motion fails.

       Mr. Hazel’s expert opinions are relevant and helpful to the Court as they provide

   a reasonable and appropriate valuation of damages owed to the OMC, not what

   Defendants would have paid had they acted like a reasonable wind energy developer

   in otherwise typical circumstances. Here, despite a year of advance notice of the

   lease requirement, no lease was negotiated with the OMC or acquired by Defendants. The

   facts and law of this case matter: proceeding at their own risk, Defendants made a




   4
    Interestingly, here Defendants also encountered various construction cost overruns on
   their Project, specifically regarding the primary method of excavation they authorized –
   blasting – which took place at 82 of the 84 turbine foundation sites (a stark increase from the
   27 sites they initially planned for). See Dkt. 300-4 at 3-4. The other activity addressed in
   Defendants’ Internal Change Order was crushing. Id. All told, these activities, blasting and
   crushing the OME, resulted in a cost overrun of $1,958,327. Id. at 5.


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    business decision to omit a mining lease, and Mr. Hazel has provided a damages

    valuation accounting for the applicable facts and law.

         Mischaracterizations in Defendants’ Summary of Mr. Hazel’s Opinions

       Defendants misstate Mr. Hazel’s opinions at various points in their “Summary”.

    See Motion at 6-8. Some of the most concerning examples, albeit nuanced, are outlined

    below.

       First, Defendants continually attempt to frame Mr. Hazel’s opinions to be “the

    amount Osage Wind would have agreed to pay the OMC for a mining lease ….”

    Motion at 8. In actuality, Mr. Hazel explained under questioning that he was not

    opining on Osage Wind’s intent in a hypothetical lease negotiation (that Defendants

    prevented from happening in reality), but that Osage Wind’s negotiated terms with the

    surface owners coupled with the OMC’s reluctance to accept a wind farm project that

    exploited their OME establish a “very reasonable proxy to the damages in this

    particular case.” Hazel’s complete Tr., Dkt. 342-3 at 214:24-25. For full context, note

    Mr. Hazel’s entire explanation about the OMC’s negotiating posture:

          But you can't name for us, sir, any other instance in which any other
          mineral owner has received a penny for a mineral -- for a wind farm,
          can you?

          But again, in this case, they have to get a lease, so that's irrelevant. They
          have to get a lease. So they have to negotiate the lease with the Osage
          Nation to basically get this wind farm in place. My understanding, the
          Osage Nation would have said no. Absolutely no is what they would
          have said. So now you're in a dynamic where you have to negotiate a
          lease with somebody that doesn't even want to do what you want them
          to do. So again, it's a very reasonable proxy to the damages in this
          particular case.



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          So why couldn't it be more?

          I've already said it probably is more, but I'm trying to get to the best,
          conservative proxy of the damages for this particular case.

          But you're not aware of any other mineral owner being paid in this way,
          correct?

          Again, it doesn't matter. This particular case is somewhat unique. They
          don't want a wind farm there. I don't know how I can get that through
          to you. They do not want a wind farm there. So now you're negotiating
          with a party that doesn't want to do what you're doing. How do you
          think that negotiation is going to go?

    Hazel’s complete Tr., Dkt. 342-3 at 214:11-215:13; see also Id. at 167:1-168:6.

       Second, Defendants are patently incorrect when they state that

          Mr. Hazel’s damages opinions do not consider the value of the rock
          crushed for backfill by Osage Wind at the turbine sites, or the fact that
          such activity ended years ago.

    Motion at 8 (citing Dkt. 337-1, Hazel Depo. Tr. Excerpts at 83:12-15). That selection

    of testimony flat out does not address crushing for backfill as an activity that ended

    years ago:

          It doesn't have anything to do in my mind about what that particular
          mineral may be worth right there at that particular moment in time.

    Dkt. 337-1, Hazel Depo. Tr. Excerpts at 83:12-15. Defendants conveniently take the

    entire selection out of context. Had Defendants provided the page before the sentence

    they cherry-picked, or better yet Mr. Hazel’s complete response, the Court could then

    see that this line of questioning addressed what criticisms Mr. Hazel had of the report

    of Defendants’ geologist, Mr. Pfahl:

          Do you have any criticisms or responses to anything in Mr. Pfahl's
          report?



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          Sure.

          And tell us what those might be, sir.

          You'd have to pull out the report. We'd have to go line by line if you
          want to go over all the criticisms.

          Do you have any that generally come to your mind, as we sit here right
          now?

          I would rather have the report in front of me to give you all of them. I
          don't want to start giving you a partial laundry list.

          Can you think of one example as you sit here right now, without even
          looking at the report in front of you?

          Well, I think broadly he misses the point. The point here in this
          particular situation is negotiation of a lease. It doesn't have anything
          to do in my mind about what that particular mineral may be worth
          right there at that particular moment in time. We're talking about
          damages related to this case and what the mineral right owners
          should receive as damages. That's what we're talking about in this
          case. So he [Mr. Pfahl] just totally misses the point.

          Damages for what?

          For the failure to get a lease for the mining activities that the Tenth
          Circuit determined was going on.

    Hazel’s complete Tr., Dkt. 342-3 at 82:20-83:22 (emphasis added).

       Third, Defendants again misconstrue Mr. Hazel’s testimony, augmenting his

    statement – made obvious and by their use of brackets – to establish “the fact mining

    ended during the construction period”. Defendants’ added language directly

    contradicts Mr. Hazel actual response:

          [D]o you have any evidence that Osage Wind is operating a mine
          today?

          Again, in my thought process, they never operated a mine, because they
          weren't in the mining activity business, but they did mining on the


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          estate. Because of the work that they did, they are required to get a
          lease.

          And has that work occurred at any time after the construction period
          ended?

          Again, so -- I don't care. So what? It doesn't matter. They're required to
          get a lease for the mining activities they did. There's nothing in the
          circuit case that says, okay, at some point in time it stops. The wind
          farm is there, so they're being damaged the whole time frame when the
          wind farm is there. That's the damages component.

          ***
          My question again, sir, is, do you have any evidence that mining
          occurred after the construction period ended?

          Again, you've asked me that question multiple times. I've told you
          that I don't have any specific information, because I haven't looked
          into that. I already told you a bunch of times it's not relevant to me.
          That's not the calculation we made.

          Are you aware, sir, of any other instance in which a mineral owner is
          paid other than for the production of minerals from the mineral estate?

          ***
          I mean, there are situations, especially in the oil and gas, where people
          are paid for other than the extraction itself, because they need other
          types of either pipelines or houses or whatever they need to basically do
          the overall production of that mineral, which is not specific to the
          mineral itself.

    Hazel’s complete Tr., Dkt. 342-3 at 154:11-155:22 (emphasis added).

       Fourth, and finally, Defendants’ selective use of quotes from Mr. Hazel’s report

    conveniently omits his reasoning (applying principles and methods to the facts of the

    case) for not selecting either Surface Use Agreements or Mineral Leases and Permits

    that were close in time, involving excavations for commercial purposes based on

    royalty rates applied to quantity/weight taken. See Motion at 8. Mr. Hazel’s detailed



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    rationale for his decision-making is provided on pages 20-22 of his report. While only

    four areas of Defendants’ summary of Mr. Hazel’s opinions are addressed above, the

    United States refers the Court to Mr. Hazel’s actual report, should it have any

    question about Mr. Hazel’s opinions. See n.7 below (starting with the 23-page textual

    report).

                                          Argument

     I.    Mr. Hazel’s relevant opinions and testimony will help the Court
           understand evidence and determine a fact in issue – the valuation of
           damages owed the OMC.

       Defendants argue Mr. Hazel’s refusal to acknowledge they had an alternative to

    mining the OME – i.e. using substitute minerals purchased offsite – renders his

    opinions irrelevant. Regarding the court’s gatekeeping functions:

           The Court is required to examine the admissibility of opinions [the
           expert] will actually render, not those opinions Plaintiff would like to
           see. Cf. Orth v. Emerson Elec. Co., 980 F.2d 632, 637 (10th Cir. 1992)
           (noting Tenth Circuit authority for the proposition [] that ‘otherwise
           relevant, factually related expert opinion’ can support a claim ‘despite
           the fact that the expert did not conduct independent tests’ (internal
           quotation marks omitted) (pre-Daubert)). Plaintiff's speculative
           argument fails to adequately show that Mr. Peterson's omission of such
           a calculation undermines his issued expert opinions or reflects a defect
           in the underlying methodology.

    Smithwick v. BNSF Ry. Co., 447 F.Supp.3d 1239, 1244–45 (W.D. Okla. 2020).

       Defendants object to Mr. Hazel’s opinions arguing they are contradicted by

    testimony offered by the geology experts: Mr. Pfahl for Defendants and Mr. Freas for

    the United States. However, Defendants ignore the fact that the geologists are




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    valuing conversion of the OME while Mr. Hazel is valuing the illegal trespass.

    Further, even with, arguendo, potentially inconsistent expert reports:

           A lack of consistency with a second expert’s opinion is not, in and of
           itself, a basis for exclusion under Rule 702 and Daubert. Cf. Cook v.
           Rockwell Int'l Corp., 580 F.Supp.2d 1071, 1128 (D. Colo. 2006) (“The
           dispute between these experts . . . goes to the weight of the survey
           evidence and does not warrant exclusion.”); Reed v. Smith & Nephew,
           Inc., 527 F.Supp.2d 1336, 1344 (W.D. Okla. 2007) (noting that a party’s
           “disagreement with the expert's conclusion is not grounds for
           exclusion” (internal quotation marks omitted)).

    Smithwick v. BNSF Ry. Co., 447 F.Supp.3d 1239, 1244 (W.D. Okla. 2020).

       Defendants, without acknowledging the scores of times Mr. Hazel has given

    relevant testimony, focus on Mr. Hazel previously having had testimony excluded as

    irrelevant in Center City Periodontists, P.C. v. Dentsply Int’l, Inc., 321 F.R.D. 193 (E.D.

    Pa. 2017). Center City Periodontists concerned a breach of warranty action where the

    plaintiffs sought a class action certification. Mr. Hazel proposed damages

    calculations based on reimbursement, retrofit, and replacement of an allegedly faulty

    dental device. Id. at 203. Therein, Mr. Hazel conceded any revenue generated by the

    successful use of the device at issue, including value gained from unintended uses,

    should be discounted from any damages award for the individual class members. Id.

    at 204. As that case concerned a putative class action, individual inquiries were

    necessary to identify individualized damages for each class member, rendering Mr.

    Hazel’s approach unhelpful for calculating damages on a class-wide basis. Id.

       An additional hindrance unique to Center City Periodontists was a particular line of

    case law requiring “a model purporting to serve as evidence of damages in [a] class



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    action must measure only those damages attributable to that theory.” Id. (citation

    omitted). The plaintiffs in Center City Periodontists sued under multiple theories of

    liability including consumer fraud claims. Because Mr. Hazel’s expert opinions on

    damages were based on breach of express warranties and conduct under consumer

    fraud laws, when the court there “dismissed the consumer fraud claims, Hazel’s

    undifferentiated methodology [became] irrelevant for purposes of determining

    damages that are solely the result of the wrong.” Id. at 204 (citation omitted).

        Unlike Center City Periodontists, the instant case is not a class action and none of

    Plaintiffs’ claims have been dismissed, rendering Defendants’ cherry-picking of

    language from that prior case unhelpful to their efforts to exclude Mr. Hazel’s expert

    opinions on damages here. It is undisputed Defendants were required to secure a 25

    C.F.R. § 214.7 lease for their mining activities, and they admit liability for their

    related trespass and conversion activities.5 Thus, Mr. Hazel’s expert opinions as to

    his valuation of damages relative to the lease requirement are valid, relevant, and

    helpful to the Court in awarding damages owed to the OMC.

    II.    Mr. Hazel’s testimony and opinions are reliable.

              1. Mr. Hazel’s opinions are based on sufficient facts and data.

        Just because this is the only Native American reservation upon which this issue

    could arise under the applicable regulations, that rarity does not render Mr. Hazel’s




    5
     Dkt. 321 at 6 (“Insofar as the Tenth Circuit held crushing rock for backfill required a
    mining lease, Osage Wind and EGPNA do not oppose summary judgment as to liability
    (only) on Plaintiff’s trespass and conversion claims.”).

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    opinions unreliable. Defendants should not be rewarded because they are the first

    tortfeasors to invade and convert the OME on this massive scale. Further,

    Defendants should not be allowed to weaponize the uniqueness of the facts and

    circumstances underpinning the case to strike an expert who has sufficiently relevant

    experience. Most cases require the expert to address unique facts and circumstances,

    and the damages phase of this case is especially suited for a forensic accountant to

    provide damages valuations to assist the Court. See Section II(4) below at pp. 20-21

    (regarding forensic accounting).

              2. Hazel’s testimony is the product of reliable principles and methods.

       Defendants vigorously object to Mr. Hazel’s chosen comparable proxy – the very

    terms they negotiated with the surface owners of the Project land. Defendants argue

    the valuations of geologists Pfahl and Freas for the minerals themselves are more

    appropriate, rendering Mr. Hazel’s lease valuation damages duplicative and

    inappropriate. However, unlike the more traditional analyses the geologists rendered,

    which are more appropriate as remedies to Defendants’ conversion of OME, Mr.

    Hazel’s opinion finds the long-term leases secured to the surface owners are more apt

    for crafting the value of the long-term damages that are still being sustained by the

    continued use and exploitation of the OME. Defendants dislike their own negotiated

    terms coming back on them and claim such a mining lease is outside the bounds of

    wind industry development norms, but this is the only reservation where such a lease

    is required.




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        After considering the market factors and different approaches to a possible

    valuation, Mr. Hazel modeled his damages valuation on the surface leases for the

    same land, as already negotiated by and acceptable to Defendants. As noted,

    Defendants’ argument that the geologists’ different approaches to valuations are

    more appropriate is dispelled by the rule finding that disputes between experts goes

    to the weight of the evidence and does not warrant exclusion. See Smithwick, 447

    F.Supp.3d at 1244 (quoting Cook, 580 F.Supp.2d at 1128). Nor is Defendants’ mere

    disagreement with Mr. Hazel’s conclusion grounds for exclusion. See Smithwick, 447

    F.Supp.3d at 1244 (quoting Reed, 527 F.Supp.2d at 1344). Neither the geologists’

    different approaches to valuing the minerals taken from the OME (separate from the

    minerals used or exploited), nor Defendants’ disagreement in having their own, arms-

    length negotiated terms used against them call for the exclusion of Mr. Hazel’s

    opinions. This is a complex case. With many torts having been committed, many

    remedies and avenues of recovery are now available.

               3. Mr. Hazel reasonably applied the principles and methods to the facts
                  of this case.

                      i. Defendants’ argument citing Northern District cases using the
                         term ipse dixit regarding an expert’s opinions misses the mark.

        Defendants label Mr. Hazel’s opinions as unreliable by stringing together

    Northern District cases wherein the term ipse dixit was used.6 However, Defendants’


    6
     The seminal case for labeling experts opinions with this term stems from this passage:
    “[N]othing in either Daubert or the Federal Rules of Evidence requires a district court to
    admit opinion evidence that is connected to existing data only by the ipse dixit of the expert.”
    Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997) (emphasis added). “A court may conclude


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    own ‘say so’ does not make their summary conclusions about Mr. Hazel’s opinions

    correct. Each of the cited ipse dixit cases is distinguishable.

       First, Defendants disagree with Mr. Hazel’s opinion that “the Mineral Estate is at

    least as integral as the Surface Estate,” making the OMC’s damages “at least equal”

    to the present value of all payments under the six surfaces leases, which he deems

    “the most directly comparable proxy.” Dkt. 337 at 12. Defendants then summarily

    conclude these opinions are “classic ipse dixit” and should be excluded. Id., citing

    Palmer v. Asarco Inc., 510 F.Supp.2d 519, 531 (N.D. Okla. 2007). The problem with

    labeling Mr. Hazel’s opinions as classic ipse dixit is that, unlike the doctor in Palmer,

    Mr. Hazel is not making medical causation opinions (linking lead exposure to

    ADHD). Id. Further, unlike the doctor in Palmer, Mr. Hazel did not publish a book

    espousing the same medical causation opinion he was offering in the case –

    bolstering his own publication with his own subsequent opinion. Id. When Mr.

    Hazel explained his methodology in selecting the most reasonable and comparable

    proxy, he considered options and applied his expert training and experience. For

    these reasons, Palmer is inapposite.

       Five years after Palmer, this Court excluded an expert’s testimony by reasoning it

    “may be excluded where it is based on subjective beliefs or unsupported speculation

    which is no more than ipse dixit guesswork.” Bright v. Ohio Nat’l Life Assur. Corp., 2012


    that there is simply too great an analytical gap between the data and the opinion proffered.”
    Id. (citing Turpin v. Merrell Dow Pharmaceuticals, Inc., 959 F.2d 1349, 1360 (6th Cir. 1992)
    (emphasis added).


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    WL 12888316, at *2 (N.D. Okla. Nov. 29, 2012). In Bright, Dr. Hudgins’ report was

    found to merely bolster another doctor’s independent medical examination (IME)

    conclusions without addressing how the IME was adequate or reasonable. Id.

    Because Dr. Hudgins focused on his own evaluation rather than the other doctor’s

    IME methodology, this Court ruled such “bolstering would be unhelpful to the jury”

    and excluded Dr. Hudgins testimony. Id. at 2-3. In contrast to Bright, Mr. Hazel’s

    opinions here do not evaluate or bolster another expert’s opinions. Mr. Hazel

    painstakingly walks through his rationale, methodically explaining what other types

    of agreements he considered and how they failed when compared to the surface

    leases, which in his opinion “represent the most reasonable and comparable proxy for the

    mineral lease that Osage Wind was federally obligated to obtain in order to construct

    its Wind Farm.” Hazel Report at 23 (emphasis added).

       Finally, eight years after Bright, this Court again excluded opinions of an expert,

    but that case and its facts differ widely from the instant matter. In this recent case,

    the Court found certain opinions of an insurance industry expert to be “based only

    on the ipse dixit of Mr. Cary and are therefore inadmissible under the Daubert

    standard.” Hellard v. Mid Century Ins. Co., 2021 WL 429917, at *5 (N.D. Okla. Feb. 8,

    2021). The Court went on to reason that Mr. Cary failed to “explain how his

    experience is reliably applied to the facts[,]” . . . has no discussion of the relevant

    facts, leaving the Court “without the means to evaluate the basis of [his] opinions.”

    Id. In a corresponding footnote, the Court continued, explaining that:




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          an expert report must contain “a complete statement of all opinions the
          witness will express and the basis and reasons for them.” Fed. R. Civ. P.
          26(a)(2)(B) (emphasis added). Thus, “[e]xpert reports must include ‘how’
          and ‘why’ the expert reached a particular result, not just his conclusory
          opinion.

    Id. at *5 n.4 (emphasis in original) (quoting Cohlmia v. Ardent Health Servs., LLC, 254

    F.R.D. 426, 430 (N.D. Okla. 2008)). Here, Mr. Hazel thoughtfully addresses the

    other types of agreements he considered, and, ultimately, why he reasoned the

    surface leases to be the “most reasonable and comparable proxy for the [required]

    mineral lease” Defendants failed to secure. Hazel Report at 23. Importantly, Mr.

    Hazel not only addresses the alternatives he investigated, he spends the bulk of his

    report (17 pages, 7 tables, and more than 17 attached schedules) detailing the

    methodologies underlying his damages calculations, which collectively arrive at a

    comprehensive valuation for what the OMC is owed. Id. at 3-19. In sum, despite

    Defendants’ labeling Mr. Hazel’s opinions as ipse dixit and intentionally mining the

    Court’s previous decisions employing the phrase, Defendants’ suggestion that this

    Court exclude Mr. Hazel’s opinions is all hat, no cattle, and should be disregarded.

                    ii. Mr. Hazel’s comparable analysis is fully supported in his
                        report, providing the Court with fully adequate means to test
                        his assumptions and evaluate the basis of his opinions.

       Defendants’ surface-level attempts to argue Mr. Hazel’s opinions were solely

    predicated on his experience is intellectually dishonest and disregards his report.

    Defendants summarily conclude “[n]either Mr. Hazel’s report nor his deposition

    testimony adequately ‘explain how his experience informed his analysis and

    produced the conclusions he seeks to sponsor.’” Dkt. 337 at 13 (quoting Dean v.


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    Thermwood Corp., 2012 WL 90422, at *7 (N.D. Okla. Jan. 11, 2012) (Noting,

    “[e]xperience may provide the basis for qualification as an expert, but experience is

    not a methodology.”). The expert at issue in Dean, Mr. Briscoe, admitted the only

    methodology he used was his years of experience. Id. at *6. Unlike Mr. Briscoe, Mr.

    Hazel offered particular reasons for not employing the possible alternatives to the

    illegal acts – the business decisions – Defendants made.

       Another key distinction is that in Dean, Mr. Briscoe made no efforts to test the

    plaintiff’s version of events leading up the accident, blindly accepting them. Id. at *7-

    9. Here, Defendants’ own negotiated lease terms are now being used by Mr. Hazel in

    his damages calculation as a reasonable comparable for his lost rental value

    methodology. Rather than attack the terms they previously negotiated in the surface

    leases, or their obvious proximity to the illegal mining, Defendants argue Mr.

    Hazel’s opinions are solely supported by his experience. Mr. Hazel’s painstakingly

    explained rationale for reviewing and ultimately not selecting alternative methods for

    his damages valuations flatly refutes this argument. Hazel Report at 20-22. Beyond

    addressing the alternative methods of valuation he investigated, Mr. Hazel’s report

    primarily explains the methodologies he selected and their application to his

    damages calculations, which collectively arrive at a comprehensive valuation for

    what the OMC is owed. Id. at 3-19. Contrast Mr. Hazel’s detailed inspections and

    investigations of the alternatives to mining the OME with the expert scrutinized in

    Dean, Mr. Briscoe, who (i) failed to inspect the machine at issue, (ii) made no effort

    to duplicate the sequence of events the plaintiff described, and (iii) was unable to

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    describe any principled methodology underlying his opinions. Dean, 2012 WL

    90422, at *8. The respective explanations of Mr. Hazel and Mr. Briscoe regarding

    their expert opinions could not be more dissimilar.

       Defendants continue their unjustified assignation of Mr. Hazel and his opinions

    by arguing that he “fails to explain how his experience led to his conclusions”,

    leaving the Court “without the means to test [his] assumptions or evaluate the basis

    of [his] opinions[.]” Dkt. 337 at 13, quoting Schulze v. United States, 2019 WL

    1440306, at *3 (N.D. Okla. Apr. 1, 2019). Naturally, the United States is familiar

    with its successful effort to exclude the testimony of the purported expert offered in

    Schulze, wherein Dr. Rouse, a clinical psychologist, tendered opinions on whether the

    evaluation and treatment of the plaintiff at a Veterans Affairs facility satisfied the

    appropriate standard of care. Id. at *1. In contrast to Mr. Hazel, Dr. Rouse only

    submitted a two-page report and subsequently testified that (i) he was not aware if

    there was a majority or minority view regarding the ultimate opinion he was

    rendering, (ii) “his opinion was not based on any study or research and that he was

    unaware of any evidence supporting his opinions”, and (iii) an important assessment

    related to his opinion was not an “exact science” and that risk factors vary among

    individuals (alluding to a likely error rate). Id. at *3. Conversely, Mr. Hazel’s

    testimony and report provide ample evidence for his opinions, rendering them

    admissible and any suggestion of ipse dixit unfitting. See Graves v. Mazda Motor Corp.,

    405 F. App’x 296, 300 (10th Cir. 2010). In greater contrast to Dr. Rouse’s two-page




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    report, Mr. Hazel’s 75-page report7 identified how (i) his valuation of a mining lease

    for the unique set of circumstances at issue is based on and informed by the Tenth

    Circuit’s opinion, (ii) he evaluated multiple alternative theories when creating his

    damages valuation and provided granular details on the ultimate method he selected,

    and (iii) he made various conservative assumptions and provided the detail behind

    his calculations to “represent the most reasonable and comparable proxy for the

    mineral lease,” e.g., noting that the temporal term of the Project may be extended by

    a renewal option period, which he identifies as a separate valuation component,

    giving the Court flexibility and clarity in the damages it ultimately awards to the

    OMC. For all these reasons, demonstrated in his testimony and report, Mr. Hazel

    successfully explains how his experience as a forensic accountant resulted in his

    conclusions, affording this Court more than adequate means to test his assumptions

    and evaluate his opinions.

              4. Mr. Hazel’s opinions satisfy the additional factors justifying
                 reliability.

        The expert opinion at issue can be and has been tested. Indeed, Defendants

    already agreed to similar terms with the surface owners for the same land in

    question. Simply because Defendants are reluctant to admit they mined the OME

    and remain vehemently opposed to paying out similar figures to the OMC as they



    7
     See Hazel Report (consisting of a 23-page textual report; 7 tables; a 33-page cache of more
    than 17 schedules; a 3-page Appendix A outlining the documents received; a 9-page
    Appendix B including his CV, publications, and recent testimony; and a 4-page Appendix C
    detailing the Project’s turbines).

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    have to the surface owners, fails to render the same terms Defendants have already

    agreed to any less reasonable now.

       The technique employed by Mr. Hazel has general acceptance in the relevant

    discipline - forensic accounting – and the rationale of his preferred comparative

    valuation in determining damages owed to the OMC for Defendants’ failure to

    secure a mining lease is clearly articulated. Mr. Hazel’s resulting damages

    calculation is followed by a present value of past and future revenue streams, which

    he has ample experience analyzing and calculating as a forensic accountant.

    Elsewhere, the court explained its rationale for finding a pair of forensic accountants

    qualified, despite not having specific industry experience or nuance (in that case, for

    fire loss investigations or fire spread analysis):

           [Amodio and Kreuter] are relying upon their expertise in the area of
           accounting to evaluate and put a dollar amount to the damages that
           resulted from the fire. This is an appropriate task for forensic
           accountants. Amodio and Kreuter, as reflected by their respective
           curriculum vitaes and extensive experience in the field of forensic
           accounting, see App. B & C of Report, are clearly qualified as forensic
           accountants who may be retained to evaluate the merit of the alleged
           damages.

    Travelers Prop. Cas. Co. of Amer. v. Hallam Eng. & Constr. Corp., 2012 WL 13029519, at

    *3 (D.N.J. Aug. 16, 2012) (emphasis added). Applying this same analysis to the

    instant case, Mr. Hazel may not have the extensive experience of wind turbine

    trespass on a reserved mineral estate that Defendants artificially require, but that is not

    the standard for his reliability and qualification. Mr. Hazel’s experience in

    performing damages valuations across various industries renders his opinions here



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    reliable and his qualifications sufficient for him to opine on the valuation of the

    damages owed to the OMC.

       Finally, as discussed, Mr. Hazel has adequately considered various alternative

    valuation methods including Defendants’ Surface Use Agreements and other OMC

    Mineral Leases and Permits that exhibited mineral excavation for commercial

    purposes based on a royalty rate for the minerals’ quantity/weight and fair market

    value. Hazel Report at 20-22. The second alternative addressed may be perceived as

    the more typical approach to the value of minerals mined, which is the

    corresponding remedy for Defendants’ conversion of the OME, as calculated by the

    pair of competing geologists. However, Mr. Hazel does much to explain why he

    determined this approach to be lacking, based on the scale of the Project and the

    OMC’s unwillingness to readily accept the Project. Id.

    III.   Mr. Hazel is more than qualified to opine on the damages valuation that
           should be calculated to compensate the OMC for the necessary mining lease
           that Defendants avoided.

       Mr. Hazel’s damages valuation for what amount a lease would reasonably have

    garnered, is not cabined by what amount Defendants would hypothetically have

    agreed to pay the OMC for a mining lease. Defendants forfeited that right when they

    proceeded to mine the OME despite (i) warnings by the OMC a year in advance of

    excavation (October 2013) and (ii) orders from the BIA’s Osage Agency to cease and

    desist contemporaneous to excavation (October 2014). The Tenth Circuit ruled a

    lease pursuant to Part 214.7 was required, and Mr. Hazel’s expert opinion is that it is




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    reasonable the OMC be compensated on a comparable basis to what the surface

    owners are being paid.

       Defendants mistake the focus of Mr. Hazel’s damages valuation. It is not

    premised solely on wind development, but on comparable methodology (what

    Defendants were willing to pay in the marketplace, and a floor for what the OMC

    may have been willing to accept) to arrive at a reasonable amount that would fairly

    compensate the OMC for the damages incurred. The facts of this case, which involve

    various income streams related to a wind development project that were arrived at

    and remain possible due to Defendants’ continuing trespass of the OME, informed

    Mr. Hazel as he fashioned his damages valuation. As noted, Defendants skip straight

    to Mr. Hazel’s “hold up” value number to argue he should be disqualified. But, at

    this stage of litigation, that is not the point. The Court is simply charged with

    ensuring that the expert bases his opinion on facts (as Mr. Hazel did and Ms. Centera

    did not) and that he has a method that is sound (Mr. Hazel integrated the Tenth

    Circuit’s lease requirement with comparable leases while Ms. Centera proposed

    some other “curative document” and wanted to “think about” damages in the case of

    litigation. Dkt. 290 at 10, 12. The United States “need not prove that the expert is

    undisputedly correct or that the expert’s theory is ‘generally accepted’ in the scientific

    community”; rather the proponent of the expert “must show that the method

    employed by the expert in reaching the conclusion is scientifically sound and that the

    opinion is based on facts which sufficiently satisfy Rule 702's reliability

    requirement.” Mitchell, 165 F.3d at 781 (citations omitted).

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       Mr. Hazel is a forensic accountant trying to follow the letter of the “law of the

    case” – i.e. the Tenth Circuit’s finding that a lease was required – and looking for a

    contemporaneous, comparable reasonable proxy, which he determined to be the

    surface leases. Mr. Hazel is qualitatively different from, and in stark contrast to, Ms.

    Centera, who was presented in part as a rebuttal witness to Mr. Hazel and notably

    offered no quantitative analysis. While Mr. Hazel offered a detailed damages

    valuation, appropriate for this phase of the litigation, Ms. Centera seems employed

    by Defendants to justify or minimize their actions by attempting to inform the Court

    about what a reasonable wind energy developer would have done. However, that

    ship has long since sailed, and the parties (or at least the plaintiffs) are now focused

    on damages. Accordingly, Mr. Hazel’s opinions will assist the Court in assigning the

    damages owed to the OMC for Defendants trespass of the OME.

                                          Conclusion

       Plaintiff, the United States, prays this Court deny Defendants’ Motion seeking to

    exclude the testimony of Mr. Steven J. Hazel as an expert for the United States and

    grant any additional relief the Court deems just and proper.




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                                       Respectfully submitted,

                                       United States of America
                                       Clinton J. Johnson
                                       Acting United States Attorney

                                       s/Nolan M. Fields IV
                                       Cathryn D. McClanahan, OBA No. 14853
                                       Nolan M. Fields IV, OBA No. 31550
                                       Assistant United States Attorneys
                                       110 West 7th Street, Suite 300
                                       Tulsa, Oklahoma 74119
                                       T: 918-382-2700
                                       cathy.mcclanahan@usdoj.gov
                                       nolan.fields@usdoj.gov

                                       Stuart P. Ashworth, OBA #31468
                                       Special Assistant United States Attorney
                                       United States Department of the Interior
                                       Office of the Solicitor
                                       Tulsa Field Solicitor’s Office
                                       7906 East 33rd Street, Suite 100
                                       Tulsa, Oklahoma 74145
                                       T: 918-669-7905
                                       stuart.ashworth@sol.doi.gov

                                       Of Counsel:
                                       Charles R. Babst, Jr.
                                       Attorney-Advisor
                                       United States Department of the Interior
                                       Office of the Solicitor
                                       Tulsa Field Solicitor’s Office
                                       7906 East 33rd Street
                                       Tulsa, Oklahoma 74145
                                       T: 918-669-7902
                                       charles.babst@sol.doi.gov




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